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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

                                                §
                                                §
ARCHER AND WHITE SALES, INC.                    §
    Plaintiff,                                           Civil Action No. 2:12-cv-572-JRG
                                                §
v.                                              §
                                                §
HENRY SCHEIN, INC. ET AL.,                      §
    Defendants.                                 §
                                                §

                        MEMORANDUM OPINION AND ORDER

       Before the Court is Plaintiff’s Motion for Reconsideration (Dkt. No. 45) of the Magistrate

Judge’s Memorandum Order (Dkt. No. 44). Having fully considered the briefing and the Parties’

arguments at the hearing on November 9, 2016, the Court finds that Plaintiff’s Motion should be

and hereby is GRANTED.

  I.   BACKGROUND

           a. Factual Background

       According to the Complaint, Plaintiff Archer and White Sales (“Plaintiff”) is a distributor

of dental equipment that competes directly against Defendant Henry Schein, Inc. (“Schein”) and

Company X (not named as a defendant in this action). Plaintiff is allegedly known nationally

among dental professionals for its low prices and high-quality service. (Compl. at 7.) Schein is

alleged to be the largest distributor of dental equipment in the United States. (Compl. at 5.)

Defendant Danaher Corporation (“Danaher”) is allegedly the largest manufacturer of dental

equipment in the United States. (Compl. at 4.) The remaining defendants—Instrumentarium,

Dental Equipment LLC d/b/a Pelton & Crane, Dental Equipment LLC d/b/a DCI Equipment,
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KaVo, and Gendex—are alleged to be wholly-owned subsidiaries of Danaher, which were

acquired by Danaher since 2004. (Compl. at 4–7.) Danaher and these subsidiaries are sometimes

referred to herein as the “Manufacturer Defendants.”

       Plaintiff alleges that Schein and Company X have conspired to fix prices and to refuse to

compete with each other in the sale of dental equipment to dental professionals. (Compl. at 1–2.)

Moreover, Plaintiff alleges that Schein and Company X have conspired with the Manufacturer

Defendants to terminate and/or reduce Plaintiff’s distribution territory in response to Plaintiff’s

low prices. (Compl. at 2.) Plaintiff claims that this termination constitutes an illegal boycott,

orchestrated by the Defendants to perpetuate the price-fixing agreement and the agreement not to

compete between Schein and Company X. (Compl. at 2.) Plaintiff further claims that Danaher, as

the common supplier to all three horizontal competitors, knowingly participated in this illegal

boycott. (Compl. at 2.)

           b. Procedural Background

       On August 31, 2012, Plaintiff filed suit against Defendant Schein and the Manufacturer

Defendants alleging violations of Section 1 of the Sherman Act, violations of Section 16 of the

Clayton Act, and violations of the Texas Free Enterprise and Antitrust Act. Soon after, on

September 26, 2012, the Manufacturer Defendants filed a Motion to Compel Arbitration and Stay

All Proceedings (Dkt. No. 10). A few days later, Defendant Schein also filed a Motion to Compel

Plaintiff to Arbitrate and to Stay Proceedings (Dkt. No. 14). After holding a hearing on these the

Motions, the Magistrate Judge on May 28, 2013, issued an Order granting both Motions, staying

the action pending arbitration of the asserted claims, and directing the Parties to notify the Court

upon completion or abandonment of the arbitration process (Dkt. No. 44).



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          On June 10, 2013, Plaintiff filed this Motion for Reconsideration of the Magistrate Judge’s

Order (Dkt. No. 45). Although Plaintiff styled its filing as a “Motion for Reconsideration,” the first

sentence of the Motion reads: “Plaintiff Archer and White Sales, Inc. (‘Archer’) objects to and

moves for reconsideration of the May 28, 2013, Memorandum Order.” (Dkt. No. 45 at 1.) As

such, it was unclear whether Plaintiff intended to have the Magistrate Judge reconsider his Order

or whether Plaintiff intended to file objections to the Order under Rule 72(a). Having reviewed the

Motion in full, and noting that Plaintiff filed its Motion within fourteen days of the Magistrate

Judge’s Order, the Court finds that Plaintiff intended its Motion to be considered as objections to

the Magistrate Judge’s Order, rather than as a Motion for the Magistrate Judge to reconsider that

Order. The Court now reviews the Motion accordingly.

    II.   STANDARD OF REVIEW

          A party may file objections to a magistrate judge’s order regarding a nondispositive matter

within fourteen days of the order. Fed. R. Civ. Pro. 72(a). 1 A district judge may modify or set

aside any part of the order that is clearly erroneous or contrary to law. Id.

III.      LEGAL STANDARD

          Under the Federal Arbitration Act (“FAA”), an arbitration agreement that involves

interstate commerce is “valid, irrevocable, and enforceable, save upon such grounds as exist at law

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  The Fifth Circuit has yet to determine the appropriate standard for reviewing a magistrate judge’s ruling on motions
to compel arbitration. Lee v. Plantation of Louisiana, L.L.C., 454 F. App’x 358, 360 (5th Cir. 2011) (“[W]e need not
reach the question of whether a motion to compel arbitration is a dispositive or non-dispositive motion for purposes of
the standard of review by the district judge of the magistrate judge’s order.”) Other courts, however, have concluded
that a ruling on a motion to compel arbitration is a non-dispositive ruling. See PowerShare, Inc. v. Syntel, Inc., 597
F.3d 10, 13–15 (1st Cir. 2010); Virgin Islands Water & Power Auth. v. Gen. Elec. Int’l Inc., 561 F. App’x 131, 134–
35 (3d Cir. 2014); Tige Boats, Inc. v. Interplastic Corp., No. 1:15-CV-0114-P-BL, 2015 WL 9268423, at *1–3 (N.D.
Tex. Dec. 21, 2015) (holding that the magistrate judge’s ruling compelling arbitration was non-dispositive where the
ruling stayed the case rather than dismissing the case pending arbitration). Moreover, when “review of a
non-dispositive motion by a district judge turns on a pure question of law, that review is plenary under the ‘contrary to
law’ branch of the Rule 72(a) standard,” and thus “there is no practical difference between review under Rule 72(a)’s
‘contrary to law’ standard and review under Rule 72(b)’s de novo standard.” PowerShare, 597 F.3d at 15.


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or in equity for the revocation of any contract.” 9 U.S.C. § 2 (2012). Section 3 of the FAA requires

courts to stay court proceedings pending arbitration for any issue covered by an arbitration

agreement. 9 U.S.C. § 3. See also Hornbeck Offshore Corp. v. Coastal Carriers Corp., 981 F.2d

752, 754 (5th Cir. 1993).

       At a high level, courts perform a two-step inquiry to determine whether to compel a party

to arbitrate. Dealer Computer Servs. v. Old Colony Motors, Inc., 588 F.3d 884, 886 (5th Cir.

2009). First, a court must determine whether the parties agreed to arbitrate the particular dispute

at issue. Id. See also Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626

(1985). If so, the court must next determine whether any applicable federal statute or policy

renders the claims nonarbitrable. Dealer Computer Servs., 588 F.3d at 886. In other words, the

court must determine “whether legal constraints external to the parties’ agreement foreclosed the

arbitration of those claims.” Mitsubishi Motors, 473 U.S. at 628. With respect to the first inquiry,

there are two separate considerations: whether a valid agreement to arbitrate some claims exists

(contract formation) and whether the dispute at hand falls within the terms of that valid agreement

(contract interpretation). Dealer Computer Servs., 588 F.3d at 886. In this case, the Parties do not

dispute that a valid agreement to arbitrate some set of claims exists. However, the Parties dispute

whether that agreement covers the Plaintiff’s claims in this case.

       “Arbitration is a matter of contract between the parties, and a court cannot compel a party

to arbitrate unless the court determines the parties agreed to arbitrate the dispute in question.”

Pennzoil Exploration & Prod. Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1064 (5th Cir. 1998). The

FAA “does not require parties to arbitrate when they have not agreed to do so, nor does it prevent

parties who do agree to arbitrate from excluding certain claims from the scope of their arbitration



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agreement.” Volt Info. Scis., Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S. 468,

478 (1989) (internal citation omitted).

           a. The Question of Arbitrability

       Although in most circumstances the Supreme Court has recognized a liberal policy in favor

of arbitration, the Court has “made clear that there is an exception to this policy: The question

whether the parties have submitted a particular dispute to arbitration, i.e., the ‘question of

arbitrability,’ is ‘an issue for judicial determination [u]nless the parties clearly and unmistakably

provide otherwise.’” Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 83 (2002) (first quoting

AT&T Technologies, 475 U.S. at 649 (emphasis added); then quoting First Options of Chicago,

Inc. v. Kaplan, 514 U.S. 938, 944 (1995)). Although the Court’s definition of “question of

arbitrability” is narrow, it includes “a disagreement about whether an arbitration clause in a

concededly binding contract applies to a particular type of controversy.” Howsam, 537 U.S. at 84

(citing AT&T Technologies, 475 U.S. at 651–52).

       The Court has also explained that “[j]ust as the arbitrability of the merits of a dispute

depends upon whether the parties agreed to arbitrate that dispute, so the question ‘who has the

primary power to decide arbitrability’ turns upon what the parties agreed about that matter.” First

Options, 514 U.S. at 943 (internal citations omitted). As to questions of arbitrability, the Court

applies a “strong pro-court presumption as to the parties’ likely intent.” Howsam, 537 U.S. at 86.

See also Oxford Health Plans LLC v. Sutter, 133 S. Ct. 2064, 2068 n.2 (2013) (noting that

questions of arbitrability are “presumptively for courts to decide”); Houston Ref., L.P. v. United

Steel, Paper & Forestry, Rubber, Mfg., 765 F.3d 396, 408 (5th Cir. 2014) (“[T]he law presumes

that courts have plenary power to decide the gateway question of a dispute’s ‘arbitrability’—i.e.,



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‘whether [the parties] agreed to arbitrate the merits.’”) (quoting First Options, 514 U.S. at 942).

Thus, the Court has held that “[u]nless the parties clearly and unmistakably provide otherwise, the

question of whether the parties agreed to arbitrate is to be decided by the court, not the arbitrator.”

Howsam, 537 U.S. at 86. See also First Options, 514 U.S. at 944 (“Courts should not assume that

the parties agreed to arbitrate arbitrability unless there is ‘clea[r] and unmistakabl[e]’ evidence that

they did so.”) (quoting AT&T Technologies, 475 U.S. at 649).

IV.     ANALYSIS

        The arbitration clause at issue in this case is found in a Dealer Agreement between Pelton

& Crane 2 and Archer and White Sales, dated October 4, 2007, which established Archer and

White Sales as a distributor of Pelton & Crane products. (Dkt. No. 46-1, Ex. C.) The arbitration

clause states:

        Disputes. This Agreement shall be governed by the laws of the State of North
        Carolina. Any dispute arising under or related to this Agreement (except for actions
        seeking injunctive relief and disputes related to trademarks, trade secrets or other
        intellectual property of Pelton & Crane) shall be resolved by binding arbitration in
        accordance with the arbitration rules of the American Arbitration Association. The
        place of arbitration shall be in Charlotte, North Carolina.

        Here, the Parties dispute whether they agreed to arbitrate antitrust claims. Additionally, the

Parties disagree as to who should make that determination—the arbitrator or this Court.

        Plaintiff argues that this action is unambiguously excluded from the arbitration clause

because the clause expressly excludes “actions seeking injunctive relief”—and it is not disputed

that Plaintiff seeks injunctive relief. (Dkt. No. 45, at 3–9.) Defendant responds by contending that

a claim for injunctive relief can be added to most lawsuits, and Plaintiff should not be able to evade
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  The same arbitration clause is found in Addendum 2 to the Marus Dealer Agreement (with the name “Marus Dental”
substituted for “Pelton & Crane”) (Dkt. No. 46-1, Ex. D) and Addendum 2 to the DCI Equipment Dealer Agreement
(with the name “DCI Equipment” substituted for “Pelton & Crane”) (Dkt. No. 46-1, Ex. E).



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arbitration by merely asking for injunctive relief in addition to Plaintiff’s claim for damages. (Dkt.

No. 46, at 7.) According to Plaintiff, however, the fact that a plaintiff may put forth a claim for

damages in addition to a claim for injunctive relief is simply irrelevant, and the Court must give the

contract its plain and unambiguous meaning. (Dkt. No. 45, at 4.) As such, Plaintiff objects to the

Magistrate Judge’s ruling on the grounds that it is contrary to the plain language of the arbitration

clause. (Dkt. No. 45, at 4.) Further, both sets of Defendants argue that the Magistrate Judge

correctly held that the question of arbitrability should be determined by the arbitrator rather than

this Court.

              a. Scope of Arbitration Clause

        “[A] valid agreement to arbitrate applies ‘unless it can be said with positive assurance that

[the] arbitration clause is not susceptible of an interpretation which would cover the dispute at

issue.’” Pers. Sec. & Safety Sys. Inc. v. Motorola Inc., 297 F.3d 388, 392 (5th Cir. 2002) (quoting

Neal v. Hardee’s Food Sys., Inc., 918 F.2d 34, 37 (5th Cir. 1990)). However, to determine the

scope of an arbitration agreement, “we look first to whether the parties agreed to arbitrate a

dispute, not to general policy goals.” E.E.O.C. v. Waffle House, Inc., 534 U.S. 279, 294 (2002). As

such, “[w]hile ambiguities in the language of the agreement should be resolved in favor of

arbitration, we do not override the clear intent of the parties, or reach a result inconsistent with the

plain text of the contract, simply because the policy favoring arbitration is implicated.” Waffle

House, 534 U.S. at 294 (internal citation omitted). The FAA “simply requires courts to enforce

privately negotiated agreements to arbitrate, like other contracts, in accordance with their terms.”

Volt Info. Scis., Inc., 489 U.S. at 478.




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       The Manufacturer Defendants argue that the only “sensible” construction of the arbitration

clause would require arbitration of the present action. (Dkt. No. 46, at 6.) Specifically, the

Manufacturer Defendants argue that this dispute is “related to” the parties’ agreement because the

rights Plaintiff seeks to vindicate were created by the Dealer Agreement. (Dkt. No. 46, at 6.) As to

the express exclusion of actions seeking injunctive relief, the Manufacturer Defendants argue that

Plaintiff’s interpretation of the clause would significantly weaken the arbitration clause and thus

cannot be correct. (Dkt. No. 46, at 7.) According to the Manufacturer Defendants, a party’s “mere

inclusion of a boilerplate request for injunctive relief in a complaint otherwise seeking a jury trial

for a damages claim” would suffice to remove an action from arbitration. (Dkt. No. 46, at 7.) As

such, the Manufacturer Defendants propose another interpretation of that express exclusion: that

the exclusion is intended to “allow[] a party to seek injunctive relief in court, particularly where the

issue in dispute involves ‘trademarks, trade secrets or other intellectual property,’ or to seek an

injunction in aid of arbitration or to enforce an arbitrator’s award.” (Dkt. No. 46, at 7.) However,

these Defendants fail to provide any substantive basis for reading into the Parties’ agreement such

significant limitations.

       Defendant Schein adopts the Manufacturer Defendants’ arguments. (Dkt. No. 47, at 13.)

Schein also argues that Plaintiff’s complaint fails to allege facts to support a claim for injunctive

relief. (Dkt. No. 47, at 13.) Specifically, Schein lists the four eBay factors and argues that Plaintiff

failed to plead the “elements” of a claim for a preliminary or permanent injunction. (Dkt. No. 47, at

13–14.) The Court will address each of the Defendants’ arguments in turn.

       First, the Court need not affirmatively decide whether the present action falls within the

clause which indicates that any disputes “related to” the agreement must be arbitrated, as the



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ultimate question turns on the clause’s express exclusion, which excludes from arbitration “actions

seeking injunctive relief.”

       Second, the phrase “except actions seeking injunctive relief” is clear on its face—any

action seeking injunctive relief is excluded from mandatory arbitration. Plaintiff’s action seeks

injunctive relief. Applying the plain meaning of the clause, Plaintiff’s action is excluded from

mandatory arbitration.

       As Plaintiff noted in its Response to the Manufacturer Defendants’ Motion to Compel, the

arbitration clause in the Dealer Agreement differs from the standard arbitration clause suggested

by the American Arbitration Association (“AAA”). (Dkt. No. 21, at 6 (citing Dkt. No. 10-3, Ex.

B).) Specifically, the clause’s exclusion of actions seeking injunctive relief (and trademark

disputes) is not part of the AAA’s suggested language. The arbitration clause in this case is unique.

Such an intentional drafting effort as opposed to dropping in standard language is worthy of the

Court’s notice.

       Third, the Manufacturer Defendants’ proposed interpretation of the exclusion clause fails

based on the plain language of the clause itself. Those Defendants argue that the exclusion covers

only intellectual property disputes or actions seeking injunctions in aid of arbitration. However, no

textual basis exists for reading the phrase “actions seeking injunctive relief” as “actions seeking

injunctive relief if such injunctions are in aid of arbitration.” Further, the clause does not limit the

exclusion to actions seeking “only” injunctive relief, and the Court also declines to read that

limitation into the document.




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        A very similar clause was recently addressed by the Southern District of New York in

Frydman v. Diamond, No. 1:14-CV-8741-GHW, 2015 WL 5294790 (S.D.N.Y. Sept. 10, 2015).

The clause that excluded actions from arbitration in that case stated:

        Should any dispute arise between the Parties which gives rise to injunctive or
        equitable relief pursuant to the terms of this Agreement, the Operating Agreements
        or the Settlement Agreements, then notwithstanding anything else contained in
        such agreements, the party initiating an action seeking injunctive or equitable
        relief may at his/her/its election bring such action in a court of competent
        jurisdiction, and each of the other Parties hereby consent to same and shall not seek
        to dismiss or move such action to arbitration or other adjudication. Id. at *2
        (emphasis added).

        The parties’ arguments in that case mirror the arguments presented to this Court. There, the

plaintiff argued that the exception allowed the plaintiff to choose the forum in which to bring any

action seeking injunctive relief. Id. at *2. Meanwhile, the defendants argued that the clause “was

intended to be a narrow exception to the parties’ broad agreement to arbitrate, and that the

plaintiff’s interpretation of [the clause] would render the parties’ agreement to arbitrate

meaningless because any party could avoid arbitration by simply including any type of claim of

injunctive or equitable relief in his complaint.” Id. at *6. There the defendants also argued that the

exclusion should be interpreted as “a standard ‘aid of arbitration’ provision of the sort that allows a

party to an arbitration agreement to seek equitable or injunctive relief either to enforce an arbitral

award or to maintain the status quo pending arbitration.” Id. at *6. The court in that case held that

the plain language excluded the plaintiff’s action from arbitration because the plaintiff’s action

sought equitable relief. In reaching the same conclusion, this Court finds persuasive the Frydman

Court’s emphasis on the plain language chosen and agreed to by the parties. 3

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  Although the court in Frydman relied on New York state law principles of contract interpretation to underscore the
supremacy of the plain language, North Carolina law places the same emphasis on the plain meaning of words in
contract interpretation. Under North Carolina law, “when the terms of a contract ‘are plain and unambiguous, there is


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         The Manufacturer Defendants’ argument that this reading of the clause would substantially

weaken the arbitration clause simply cannot override the plain meaning of the words chosen by the

parties in their agreement. To put it concisely, the Court will not re-write the terms of the Parties’

agreement to accommodate a party—notably, the party that drafted the agreement 4—that could

have negotiated for more precise language. It is the duty of the courts to “enforce privately

negotiated agreements to arbitrate, like other contracts, in accordance with their terms.” Volt Info.

Scis., Inc., 489 U.S. at 478. See also Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.

395, 404 n.12 (1967) (noting that the purpose of the Federal Arbitration Act was “to make

arbitration agreements as enforceable as other contracts, but not more so”) (emphasis added).

         Finally, Defendant Schein’s argument that Plaintiff failed to “plead” a claim for injunctive

relief also fails. First, any argument that Plaintiff failed to state a claim for relief should be raised

under Federal Rule of Civil Procedure 12. There is no such motion before the Court. Further, the

factors articulated by the Supreme Court in eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 394

(2006), are not pleading requirements—rather, they are factors that are to be considered and

carefully weighed by a court before an injunction should issue. To put it simply, injunctive relief is

a remedy, not a cause of action. See Prompt Med. Sys., L.P. v. Allscriptsmisys Healthcare Sols.,

Inc., No. 6:10-CV-71, 2011 WL 12863577, at *1 (E.D. Tex. Feb. 11, 2011) (noting that the

defendants in that case failed to provide any authority that an injunction must be pleaded with

more specific facts). See also AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649


no room for construction. The contract is to be interpreted as written,’ . . . and ‘enforce[d] . . . as the parties have made
it.’” State v. Philip Morris USA Inc., 363 N.C. 623, 632, 685 S.E.2d 85, 91 (2009) (first quoting Jones v. Casstevens,
222 N.C. 411, 413, 23 S.E.2d 303, 305 (1942); then quoting Wachovia Bank & Tr. Co. v. Westchester Fire Ins. Co.,
276 N.C. 348, 354, 172 S.E.2d 518, 522 (1970)) (internal citations omitted).
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   As Plaintiff noted in its Sur-reply to the Manufacturer Defendants’ Motion to Compel, the clause at issue was drafted
by Pelton & Crane. (Dkt. No. 33, at 2.)


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(1986) (“[I]n deciding whether the parties have agreed to submit a particular grievance to

arbitration, a court is not to rule on the potential merits of the underlying claims.”).

        Given the plain meaning of the language chosen by the Parties, and there being no basis for

reading significant limitations into the express exclusion, the Court concludes that there is, in this

case, a “positive assurance” that no reasonable interpretation of the arbitration clause would force

this action into arbitration. See Pers. Sec. & Safety Sys., 297 F.3d at 392 (“[A] valid agreement to

arbitrate applies ‘unless it can be said with positive assurance that [the] arbitration clause is not

susceptible of an interpretation which would cover the dispute at issue.’”) (quoting Neal v.

Hardee’s Food Sys., Inc., 918 F.2d 34, 37 (5th Cir. 1990)).

           b. The Question of Arbitrability

        The Parties disagree as to who should determine the scope of the arbitration clause in this

case—the arbitrator or this Court. A general presumption exists in favor of arbitrability being

decided by the Court, as “the law presumes that courts have plenary power to decide the gateway

question of a dispute’s ‘arbitrability’—i.e., ‘whether [the parties] agreed to arbitrate the merits.’”

Houston Ref., L.P. v. United Steel, Paper & Forestry, Rubber, Mfg., 765 F.3d 396, 408 (5th Cir.

2014) (quoting First Options, 514 U.S. at 942). Thus, the Court concludes that the question of

arbitrability should not be sent to the arbitrator in these narrow circumstances for two reasons: (1)

the Parties did not clearly and unmistakably agree to arbitrate the arbitrability of actions seeking

injunctive relief; and (2) Defendants’ argument that Plaintiff’s claims fall within the scope of the

arbitration clause is wholly groundless. The Court will address these two independent rationales in

turn.




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                    i. Clear and Unmistakable Evidence

       Courts often find clear and unmistakable evidence of an agreement to arbitrate arbitrability

when an agreement includes an express delegation provision. See, e.g., Aviles v. Russell Stover

Candies, Inc., 559 F. App’x 413, 415 (5th Cir. 2014) (holding that the delegation clause provided

clear and unmistakable evidence that the parties intended to arbitrate arbitrability). “A delegation

provision is an ‘agree[ment] to arbitrate “gateway” questions of “arbitrability,” such as . . .

whether [the parties’] agreement covers a particular controversy.’” Douglas v. Regions Bank, 757

F.3d 460, 462 (5th Cir. 2014). There is no express delegation clause in the agreement before this

Court. Nonetheless, as Schein and the Manufacturer Defendants correctly note, the Fifth Circuit

has held that the adoption of the AAA rules to govern arbitration proceedings “presents clear and

unmistakable evidence that the parties agreed to arbitrate arbitrability.” Cooper v. WestEnd

Capital Mgmt., L.L.C., 832 F.3d 534, 546 (5th Cir. 2016) (quoting Petrofac, Inc. v.

DynMcDermott Petroleum Operations, Co., 687 F.3d 671, 675 (5th Cir. 2012)). As such,

Defendants rely on Petrofac to argue that the Magistrate Judge correctly decided to refer the case

to an arbitrator to determine arbitrability based on the Parties incorporation of the AAA rules.

(Dkt. No. 46, at 1; Dkt. No. 47, at 13.)

       As Plaintiff noted during its oral argument, the arbitration clause in Petrofac did not

contain any exclusions. Rather, it was a standard broad arbitration clause. Plaintiff also argues that

unlike the arbitration clause in Petrofac, the arbitration clause here “cabins application of the AAA

rules to disputes ‘arising under or related to’ the Agreement that are not ‘actions seeking injunctive

relief’ or ‘disputes relating to trademarks, trade secrets or other intellectual property of Pelton &

Crane.’” (Dkt. No. 48, at 1 (emphasis added).) In other words, according to Plaintiff, the clause



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represents an agreement that the AAA rules would govern only when the dispute did not fall within

the expressly excluded categories. This Court finds such argument to have merit.

       Although Plaintiff’s argument at first blush appears circular, the logic of Plaintiff’s

argument holds true given the exclusion expressly set forth by the Parties. For example, if the

present action fell outside of the clause’s express exclusion, any questions as to arbitrability (e.g.,

whether a particular cause of action “arises out of or relates to” the agreement) would be sent

promptly to the arbitrator. That is not the case here, where the present action falls squarely within

the terms of an express carve-out. Indeed, it would be senseless to have the AAA rules apply to

proceedings that are not subject to arbitration. As such, there is no reason to believe that

incorporation of the AAA rules, including the AAA rule that delegates the question of arbitrability

to the arbitrator, should indicate a clear and unmistakable intention that the parties agreed to

arbitrate the question of arbitrability in these circumstances—when an action falls squarely within

the clause excluding actions like this from arbitration. See James & Jackson, LLC v. Willie Gary,

LLC, 906 A.2d 76, 81 (Del. 2006) (addressing a broad arbitration clause that contained a clause

allowing injunctive relief to be pursued in court and holding that “[s]ince this arbitration clause

does not generally refer all controversies to arbitration, the federal majority rule does not apply,

and something other than the incorporation of the AAA rules would be needed to establish that the

parties intended to submit arbitrability questions to an arbitrator”) (emphasis added).

                   ii. The “Wholly Groundless” Exception

       Even if this Court were to find that the adoption of the AAA rules constituted clear and

unmistakable evidence that the Parties agreed to arbitrate the question of arbitrability in these

unique circumstances, recent guidance from the Fifth Circuit indicates that in narrow



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circumstances, a court should nonetheless determine arbitrability where a defendant’s argument in

favor of arbitrability is “wholly groundless.” Douglas, 757 F.3d at 463–64. In Douglas, the Fifth

Circuit addressed whether the question of arbitrability should be sent to the arbitrator. Id. at 462.

The arbitration clause at issue in that case defined the “disputes” that would be subject to

arbitration as including “the validity, enforceability, or scope of this Arbitration provision.” Id. at

462. Despite the existence of an express delegation clause in the arbitration agreement (which does

not exist here), the Fifth Circuit held that the question of arbitrability need not be sent to

arbitration. Id. at 462–63.

         The Circuit held that “[t]he law of this circuit does not require all claims to be sent to

gateway arbitration merely because there is a delegation provision.” Id. at 463. In its analysis, the

Fifth Circuit relied on a test established by the Federal Circuit, a test that “most accurately reflects

the law—that what must be arbitrated is a matter of the parties’ intent.” Id. at 464. 5 The Federal

Circuit’s test involves two steps: “(1) did the parties ‘unmistakably intend to delegate the power to

decide arbitrability to an arbitrator,’ and if so, (2) is the assertion of arbitrability ‘wholly

groundless.’” Agere Sys., Inc. v. Samsung Elecs. Co., 560 F.3d 337, 340 (5th Cir. 2009) (quoting

Qualcomm Inc. v. Nokia Corp., 466 F.3d 1366, 1371 (Fed. Cir. 2006)). As applied, “the ‘wholly

groundless’ inquiry ‘necessarily requires the courts to examine and, to a limited extent, construe

the underlying agreement.’” Douglas, 757 F.3d at 463 (quoting InterDigital Commc’ns, LLC v.

Int’l Trade Comm’n, 718 F.3d 1336, 1346–47 (Fed. Cir. 2013), vacated on other grounds, 134

S.Ct. 1876 (2014) (vacating on mootness grounds)).
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  Though cited with approval, it is unclear whether the Fifth Circuit has expressly adopted the Federal Circuit’s
“wholly groundless” test. Regardless, even if that test has not been adopted by the Fifth Circuit, as discussed in Section
IV.b.i above the Court finds that there is not clear and unmistakable evidence that the Parties intended to send the
question of arbitrability to an arbitrator because the adoption of the AAA rules in this case applies only to matters
subject to arbitration—not to those that are expressly excluded from arbitration.


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        In so holding, the Fifth Circuit emphasized that to hold otherwise would require the

plaintiff to go to an arbitrator merely to have the arbitrator “flatly” explain that the claim did not

fall within the scope of the agreement and promptly send plaintiff back to court. Douglas, 757 F.3d

at 463. The Circuit noted the absurdity of such a process:

        When [plaintiff] signed the arbitration agreement containing a delegation
        provision, did she intend to go through the rigmaroles of arbitration just so the
        arbitrator can tell her in the first instance that her claim has nothing whatsoever to
        do with her arbitration agreement, and she should now feel free to file in federal
        court? Obviously not. Id. at 464.

        The same unequivocal response from the arbitrator would just as readily occur here, where

the plain language of the clause carves out and excludes the action brought by this Plaintiff. As

discussed above in Section IV.a, Defendants’ argument that this action seeking injunctive relief

should be referred to arbitration is wholly without merit based on the plain language of the

arbitration clause itself. As a result, the Court finds that even if the inclusion of the AAA rules for

disputes not carved out by the Parties’ own language is held to be clear and unmistakable evidence

that the parties generally agreed to arbitrate the question of arbitrability, Defendants’ assertion that

this particular action should be arbitrated is “wholly groundless.” Additionally, given the clarity of

the arbitration provision discussed above, it would be senseless to refer the issue of arbitrability to

the arbitrator, only to have the arbitrator read the plain language of the clause and then send the

Parties back to this Court.

        The Court recognizes that the “wholly groundless” exception in Douglas should be used

only in “exceptional” circumstances, and the Court does not seek to expand that narrow exception

by applying it in this case. See Kubala v. Supreme Prod. Servs., Inc., 830 F.3d 199, 202 n.1 (5th

Cir. 2016) (“Such cases are exceptional, and the rule in Douglas is not a license for the court to



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prejudge arbitrability disputes more properly left to the arbitrator pursuant to a valid delegation

clause. So long as there is a ‘plausible’ argument that the arbitration agreement requires the merits

of the claim to be arbitrated, a delegation clause is effective to divest the court of its ordinary

power to decide arbitrability.”). However, given the precise facts of this case—that there is no

express delegation of arbitrability, but simply the adoption of the AAA rules for disputes not

excluded from arbitration—and given that the plain meaning of the language at issue leaves Schein

and the Manufacturer Defendants with no plausible argument that this action falls within the

narrowed parameters of those disputes subject to arbitration, application of the Douglas exception

is appropriate in this particular case.

            c. Equitable Estoppel

        Having concluded that this action falls within the express exclusion contained in the

parties’ arbitration clause and that this action is not subject to mandatory arbitration, the Court

need not decide, and does not reach, the question of whether the third parties to the arbitration

clause in this case can enforce such arbitration clause.

 V.     CONCLUSION

        For the foregoing reasons, the Magistrate Judge’s Order should be and hereby is

REVERSED. It is therefore ORDERED that the Magistrate Judge’s Order (Dkt. No. 44) is

hereby VACATED. Accordingly, the Motions to Compel Arbitration filed by Defendant Schein

and the Manufacturer Defendants are DENIED, and the stay previously entered in this case is

hereby LIFTED.

        The trial date for this action is hereby set for February 5, 2018, and the pre-trial hearing

date is set for January 8, 2018. Accordingly, the Parties are ORDERED to meet and confer and



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thereafter jointly submit a proposed Docket Control Order to the Court within 14 days of this

Order based on the above trial and pre-trial dates.




      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 7th day of December, 2016.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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